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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

United States of America,

                       Plaintiff,
                                                     MEMORANDUM OPINION
       v.                                            AND ORDER
                                                     Criminal No. 98-179(7) ADM/AJB
Lennard Stephen Graham,

                       Defendant.

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Andrew S. Dunne, Esq., Assistant United States Attorney, Minneapolis, MN, on behalf of
Plaintiff.

Lennard Stephen Graham, pro se.
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                                      I. INTRODUCTION

       This matter is before the undersigned United States District Judge on Defendant Lennard

Stephen Graham’s (“Defendant”) Rule 60(b)(6) Motion [Docket No. 620]. Defendant argues

that he is entitled to an additional one point reduction in his sentence based upon his acceptance

of responsibility. Because Plaintiff’s 60(b) Motion is a successive § 2255 motion, it must be

denied for lack of jurisdiction.

                                      II. BACKGROUND

       On January 19, 1999, Defendant entered into a Plea Agreement [Docket No. 354].

Defendant was sentenced on one count of conspiracy to possess with intent to distribute and to

distribute cocaine and cocaine base. The Plea Agreement allowed for a two level reduction for

acceptance of responsibility because Defendant pled guilty on the day of trial. Defendant was

sentenced on July 6, 1999 to 115 months imprisonment and three years supervised release.

Although Defendant did not appeal his conviction to the Eighth Circuit Court of Appeals, he
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filed a habeas motion pursuant to 28 U.S.C. § 2255 [Docket No. 521] on June 30, 2000, which

was denied in an Order dated November 16, 2000 [Docket No. 531]. Defendant now seeks to

correct his sentence under Federal Rule of Civil Procedure 60(b), arguing he is entitled to a third

point for acceptance of responsibility. The gravamen of Defendant’s Motion is that he told his

attorneys he wanted to plead guilty soon after he was indicted; however, his attorneys did not

allow him to do so.

                                        III. DISCUSSION

       Defendant alleges he is challenging the procedure by which he was denied a third point

for acceptance of responsibility. Federal Rule of Civil Procedure 60(b)(6) provides: “On motion

and upon such terms as are just, the court may relieve a party or a party's legal representative

from a final judgment, order, or proceeding for the following reasons: any other reason justifying

relief from the operation of the judgment.” Here, however, Defendant is not attacking the

procedure by which he was sentenced, but rather is attacking his sentence directly. As a result,

his Motion is more properly characterized as a § 2255 motion. As Defendant has previously

filed a § 2255 motion, he must seek authorization from the Eighth Circuit before proceeding with

a second such motion. 28 U.S.C. § 2255. Defendants “may not bypass the authorization

requirement of 28 U.S.C. § 2244(b)(3) for filing a second or successive § 2254 or § 2255 action

by purporting to invoke some other procedure.” United States v. Lambros, 404 F.3d 1034, 1036

(8th Cir. 2005). Courts have consistently ruled that Rule 60(b) motions may not be employed as

an end around the preauthorization requirements. Boyd v. United States, 304 F.3d 813, 814 (8th

Cir. 2002).




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       Although Defendant relies on Gonzalez v. Crosby in support of his Motion, the Supreme

Court held in that case that a Rule 60(b) motion should be characterized as a habeas motion if “it

seeks to add a new ground for relief,” and moreover, such a motion that objects to the validity of

a criminal sentence must be treated as a new collateral attack. 125 S.Ct. 2641, 2643-44 (2005).

This is precisely the situation at bar, wherein the Defendant is seeking to collaterally attack his

sentence.

       Even if Defendant’s Motion was not a collateral attack on his sentence, Defendant is still

barred from seeking relief under this Rule. Rule 60(b) allows for attacks on the integrity of a

civil habeas proceeding, but does not allow for the attack of the underlying conviction and

sentencing in his criminal case. Id. at 2646. Defendant’s Motion does not attack the procedure

surrounding his habeas motion, but rather, his conviction and sentencing. Because Defendant’s

Motion is correctly characterized as a successive § 2255 motion and because Defendant has

failed to properly employ the remedy available under Rule 60(b), his Motion is denied.

                                       IV. CONCLUSION

       Based upon the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Defendant’s Rule 60(b)(6) Motion [Docket No. 620] is DENIED.


                                                      BY THE COURT:



                                                             s/Ann D. Montgomery
                                                      ANN D. MONTGOMERY
                                                      U.S. DISTRICT JUDGE

Dated: August 26, 2005.




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